_ _ Case 2:10-md-02179-CJB-DPC Document 167-1 Filed 09/03/10 Page 1 of 1

Attendance Record

MDL-2179
Oil Spill by the Oil Rig “Deepwater Horizon”

pace: Up 3 2010 Time: 4:30 ALM.

PLEASE PRINT
Name Telephone Client Name
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